      Case 2:22-cv-00068-SMB Document 23 Filed 07/08/22 Page 1 of 2



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 6                      IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   Trevor Reid, et al.,                              No. CV-22-00068-PHX-SMB
10                  Plaintiffs,                        ORDER
11   v.
12   United States Department of Interior, et al.,
13                  Defendants.
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15          The Court having reviewed Substituted Defendant United States of America’s
16   Motion to Consolidate and Extend the Responsive Pleading Deadline (First Request to

17   Extend) (Doc. 17), Plaintiffs have responded (Doc. 18) and the United States of America
18   replied (Doc. 20) and all pleadings have been considered. Additionally, Plaintiffs have

19   filed an Application for Clerk’s Entry of Default as to U.S. Department of the Interior and

20   National Park Service (Doc. 22). Plaintiffs responded to the Motion to Consolidate
21   indicating that they had no objection to the motion, but they ignored the request to extend.
22   The Government points out that the individual defendants have not been served and

23   Plaintiff’s agree. Plaintiffs however believe that they can avoid the service requirements

24   by dismissing claims against the individual defendants in their individual capacity but keep

25   claims against them in their official capacity. They are incorrect. If Plaintiffs anticipate

26   proceeding with Bivens claims against the officers acting in their official capacity, they
27   must still serve the individual officers pursuant to Federal Rule of Civil Procedure 4.
28   Therefore,
      Case 2:22-cv-00068-SMB Document 23 Filed 07/08/22 Page 2 of 2



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 2         IT IS ORDERED extending the time to effectuate service on the individual
 3   defendants to August 5, 2022;
 4         IT IS FURTHER ORDERED granting the United States’ motion (Doc. 17) and
 5   extending the deadline to file an Answer to September 30, 2022;
 6         IT IS FURTHER ORDERED denying Plaintiff’s Application for Default (Doc.
 7   22) as premature.
 8         Dated this 8th day of July, 2022.
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